     8:19-cr-00181-DCC      Date Filed 03/27/19   Entry Number 206      Page 1 of 1




                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF SOUTH CAROLINA
                             GREENWOOD DIVISION

                                CASE NO: 8:19-CR-181

UNITED STATES OF AMERICA,        )
                                 )
           vs.                   )
                                 )
DANNY MORALES LOPEZ,             )
                                 )
                Defendant.       )
________________________________)

                           MOTION TO ADOPT ALL MOTIONS
                            FILED BY CO-DEFENDANTS

      The above-named defendant moves for the entry of an Order permitting the

adoption by this defendant of all motions filed by the co-defendants in the above case.

                                        Respectfully submitted,


                                        s/ Jack B. Swerling
                                        JACK B. SWERLING (ID# 4406)
                                        Law Offices of Jack B. Swerling
                                        1720 Main Street, Suite 301
                                        Columbia, South Carolina 29201
                                        (803) 765-2626
                                        Email: jacklaw@aol.com

                                        Attorney for Defendant
Columbia, South Carolina
March 27, 2019
